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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 23-3389-GW-MARx                                                 Date    January 23, 2024
 Title             Iola Favell et al v. University of Southern California, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                              None Present
                 Deputy Clerk                         Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                         None Present                                               None Present
 PROCEEDINGS:                IN CHAMBERS - FINAL RULING ON DEFENDANT 2U, INC.'S
                             MOTION THE FIRST AMENDED CLASS ACTION COMPLAINT [67]


Attached hereto is the Court’s Final Ruling on Defendant’s Motion [67]. Plaintiffs have not sufficiently
alleged that the statements at issue are actionable against 2U, or that 2U exercised control over the
statements made by USC, the Court dismisses Plaintiffs’ claims under the FAL, UCL, and CLRA.
Plaintiffs will be granted leave to amend to cure the above-noted deficiencies. Plaintiffs may file
amended complaints within twenty-one days of this order.




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                                                                 Initials of Preparer    JG
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  Iola Favell et al v. University of Southern California et al (“Favell I”); Case No. 2:23-cv-00846-
  GW-(MARx); Iola Favell et al v. University of Southern California et al (“Favel II”); Case No.
  2:23-cv-03389-GW-(MARx) – Final Ruling on 2U’s Motion to Dismiss Case (Favel I, ECF No.
  77 and Favell II, ECF No. 67)


  I.       Background
              A. Procedural Background
              On December 20, 2022, Plaintiffs Iola Favell, Sue Zarnowski, and Mariah Cummings
  (“Plaintiffs”)1 filed a putative class action against Defendants University of Southern California
  (“USC”) and 2U, Inc. (“2U”) (together, “Defendants”) in the Superior Court of the State of
  California, County of Los Angeles. See Complaint, Iola Favell et al v. University of Southern
  California et al (“Favell I”), No. 2:23-cv-00846-GW-(MARx) (C.D. Cal.), ECF No. 1-1.2
  Plaintiffs alleged that Defendants engaged in a scheme to artificially inflate the U.S. News &
  World Report (“US News”) ranking of USC Rossier School of Education by submitting inaccurate
  or incomplete data to US News and market the resulting ranking to the public. See id. The initial
  Complaint asserted four causes of action for: (1) violation of California’s False Advertising
  Law (“FAL”), Cal. Bus. & Prof. Code § 17500 et seq.; (2) violation of California’s Unfair
  Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200 et seq.; (3) violation of the Consumer
  Legal Remedies Act (“CLRA”), Cal. Bus. & Prof. Code § 1750 et seq.; and (4) unjust enrichment.
  See id.
              On February 3, 2023, 2U removed Favell I to federal court pursuant to the Class Action
  Fairness Act. See Notice of Removal, ECF No. 1. Thereafter, 2U and USC each moved to dismiss,
  arguing in part that Plaintiffs’ claims for equitable relief were barred under Sonner v. Premier
  Nutrition Corp., 971 F.3d 834 (9th Cir. 2020). See ECF Nos. 28, 30. Before those motions were
  decided, Plaintiffs filed a First Amended Complaint on March 29, 2023. See ECF No. 32. The
  First Amended Complaint dropped Plaintiffs’ equitable claims and instead asserted a single cause
  of action for damages under the CLRA. Plaintiffs also filed a related action in state court on the
  same day. See Complaint, Iola Favell et al v. University of Southern California et al (“Favel II”),
  No. 2:23-cv-03389-GW-(MARx) (C.D. Cal.), ECF No. 1-1. The factual allegations in Favell II


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           Ahmad Murtada was subsequently added as a plaintiff.
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           Unless otherwise indicated, references to “ECF No. __” refer to docket numbers in Favell I.



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  are the same as in Favell I, but Plaintiffs reasserted their three equitable causes of action under the
  FAL, UCL, and CLRA. Defendants again removed to this Court. See Notice of Removal, Favell
  II, ECF No. 1.
          USC and 2U each moved to dismiss the First Amended Complaint in Favell I. See ECF
  Nos. 42, 43. On July 5, 2023, the Court denied USC’s motion to dismiss but granted 2U’s motion
  to dismiss with leave to amend. See Tentative Ruling on Defendants’ Motions to Dismiss
  (“Order”), ECF No. 63 (made final at ECF No. 64). The parties stipulated that Plaintiffs could
  amend the Complaint in Favell II as well, and Plaintiffs filed amended complaints in both actions
  on July 28, 2023. See Second Amended Complaint (“SAC”), Favel I, ECF No. 67; First Amended
  Complaint (“FAC”), Favel II, ECF No. 58. The parties further agreed that 2U would file one
  consolidated motion to dismiss the claims against it both actions. That motion is now before the
  Court. See 2U’s Motion to Dismiss Case (“Mot.”), Favel I, ECF No. 77 and Favell II, ECF No.
  67. Plaintiffs filed an opposition. See Plaintiffs’ Opposition to 2U’s Motion to Dismiss (“Opp.”),
  Favel I, ECF No. 81 and Favell II, ECF No. 71. 2U filed a reply. See 2U’s Reply in Support of
  Motion to Dismiss (“Reply”), Favel I, ECF No. 85 and Favell II, ECF No. 75.
          B. Factual Background3
          USC is a private nonprofit university that offers undergraduate and graduate degree
  programs, including through the USC Rossier School of Education (“USC Rossier”). SAC ¶ 23.
  In or around 2008, USC began its business relationship with 2U, an education technology startup,
  to develop an online Master of Arts in Teaching program. Id. ¶ 24. The program was the first of
  USC Rossier’s online degree programs and went live in June 2009. Id. In October 2008, 2U and
  USC entered into a services agreement whereby 2U would provide certain technological,
  marketing, promotional, and other support services, and in exchange would receive an undisclosed
  percentage of the tuition revenue from students enrolled in USC Rossier’s online degree program.4
  Id. ¶¶ 25-28, Ex. A.

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         The factual allegations in this section are derived from the operative complaints and judicially noticeable
  documents. Because the factual allegations (the first 171 paragraphs) in the SAC in Favel I and FAC in Favel II are
  identical, the Court will cite to the SAC in Favel I for simplicity.
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         According to a report by the Wall Street Journal: “Universities frequently provide 2U with 60% of the tuition
  for online degree programs.” Id. ¶ 29 (quoting Lisa Bannon & Rebecca Smith, That Fancy University Course? It
  Might Actually Come From an Education Company, The Wall Street Journal (July 6, 2022),
  https://www.wsj.com/articles/that-fancyuniversity-course-it-might-actually-come-from-an-education-company-
  11657126489) (emphasis omitted). Plaintiffs allege that 2U likely receives a similar percentage of tuition revenue
  from USC Rossier. Id.

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         US News calculates its annual Best Education Schools rankings using data sent by graduate
  education schools who choose to participate in the rankings. Id. ¶ 55. US News develops and
  provides to participating schools instructions to ensure that they collect and report data in a
  consistent way. Id. To determine its rankings, US News employs a specific methodology which
  assigns weights to eleven criteria based on their perceived importance to determining academic
  quality. Id. ¶ 56. Relevant here, “student selectivity” accounts for 18% of the school’s total score
  and is comprised of three objective sources of admittance data: (1) the school’s doctoral acceptance
  rate (6%); (2) mean GRE quantitative scores (6%); and (3) mean GRE verbal scores (6%). Id.
         Throughout the relevant period (2009 through 2021), US News required schools to submit
  the data used in the rankings, including student selectivity data, from all the school’s education
  doctoral programs. Id. ¶ 60. The methodology does not distinguish between data from in-person
  and online programs. Id. ¶ 57. However, an internal investigation conducted by USC’s outside
  counsel, Jones Day, determined that USC had submitted student selectivity data only for USC
  Rossier’s highly selective, in-person Ph.D. program, but not from its less-competitive EdD
  program (which was offered online after 2015). Id. ¶ 59. From the 2009 rankings to the 2010
  rankings, USC Rossier’s reported acceptance rate dropped 40 percentage points (from 50.7% to
  10.5%), and its ranking rose 16 places (from #38 to #22). Id. ¶¶ 50, 58-61.
         US News also began publishing a specialty ranking of online master’s degrees in education
  in 2013. Id. ¶ 69. USC Rosier’s online Master of Arts in Teaching program ranked #44 that year.
  Id. USC did not participate in those rankings in at least 2014 and 2016, nor did the program appear
  on the publicly available list in 2015, 2017, 2018, 2019, 2020, or 2021. Id.
         Plaintiffs allege that Defendants, knowing the importance of the rankings on prospective
  students’ school choice, heavily marketed USC Rossier’s rapidly rising ranking to the public to
  boost enrollment in the online programs. Id. ¶¶ 76, 78. USC orchestrated this scheme through its
  submission of false/incomplete data, and then advertised the resulting rankings knowing that they
  were misleading. Id. ¶ 77. For its part, 2U helped “push the rankings out on a much broader
  scale,” and knew or should have known that the rankings were fraudulently procured. Id. ¶¶ 76-
  77. For example, 2U engaged in online advertising to promote USC Rossier’s ranking to more
  applicants, including by purchasing search terms from Google and running advertisements on
  social media. Id. ¶¶ 79-81. Between 2015 and 2021, 2U spent more than half of its revenue on




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  program sales and marketing.5 Id. ¶ 82. USC likewise regularly touted USC Rossier’s ranking
  (and that USC Rossier was “top-ranked”) in press releases, on social media, on the Rossier
  Website, and in other promotional materials. Id. ¶¶ 83-88. In these advertisements, Defendants
  did not disclose that USC Rossier was ranked lower or not ranked at all in US News’ online
  master’s degrees in education rankings, or that the data submitted to US News was incomplete or
  inaccurate. Id. ¶¶ 88-90. The named Plaintiffs saw and relied on Defendants’ advertisements in
  different locations over different periods of time. Id. ¶¶ 127, 139, 149, 157.
  II.       Legal Standard
             Under Rule 12(b)(6), a court must: (1) construe the complaint in the light most favorable
  to the plaintiff, and (2) accept all well-pleaded factual allegations as true, as well as all reasonable
  inferences to be drawn from them. See Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th
  Cir.), amended on denial of reh’g, 275 F.3d 1187 (9th Cir. 2001); Pareto v. F.D.I.C., 139 F.3d
  696, 699 (9th Cir. 1998). The court need not accept as true “legal conclusions merely because
  they are cast in the form of factual allegations.” Warren v. Fox Family Worldwide, Inc., 328 F.3d
  1136, 1139 (9th Cir. 2003). In its consideration of the motion, the court is limited to the allegations
  on the face of the complaint (including documents attached thereto), matters which are properly
  judicially noticeable and “documents whose contents are alleged in a complaint and whose
  authenticity no party questions, but which are not physically attached to the pleading.” See Lee v.
  City of Los Angeles, 250 F.3d 668, 688-89 (9th Cir. 2001); Branch v. Tunnell, 14 F.3d 449, 453-
  54 (9th Cir. 1994), overruling on other grounds recognized in Galbraith v. County of Santa Clara,
  307 F.3d 1119 (9th Cir. 2002).
             Dismissal pursuant to Rule 12(b)(6) is proper only where there is either a “lack of a
  cognizable legal theory or the absence of sufficient facts alleged under a cognizable legal
  theory.” Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990); Johnson v.
  Riverside Healthcare Sys., LP, 534 F.3d 1116, 1121-22 (9th Cir. 2008); see also Bell Atlantic
  Corp. v. Twombly, 550 U.S. 544, 561-63 (2007) (dismissal for failure to state a claim does not
  require the appearance, beyond a doubt, that the plaintiff can prove “no set of facts” in support of
  its claim that would entitle it to relief). However, a plaintiff must also “plead ‘enough facts to state


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        Plaintiffs allege that most of these expenses were “likely expended on USC given that throughout the class
  period, a significant amount of 2U’s revenue was still derived from USC.” Id. ¶ 82; see also id. ¶ 64 (alleging that
  when 2U went public in 2014, “USC was one of only five 2U clients, and critical to its profitability, accounted for
  69% of revenues”).

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  a claim to relief that is plausible on its face.’” Johnson, 534 F.3d at 1122 (quoting Twombly, 550
  U.S. at 570); see also William O. Gilley Enters., Inc. v. Atlantic Richfield Co., 588 F.3d 659, 667
  (9th Cir. 2009) (confirming that Twombly pleading requirements “apply in all civil cases”). A
  complaint does not “suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual
  enhancement.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at
  556). “A claim has facial plausibility when the plaintiff pleads factual content that allows the court
  to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.
         While Rule 8(a)(2) of the Federal Rules of Civil Procedure requires only that a party’s
  pleading contain “a short and plain statement of the claim showing that the pleader is entitled to
  relief,” Fed. R. Civ. P. 8(a)(2), “Rule 9(b) requires that, when fraud is alleged, ‘a party must state
  with particularity the circumstances constituting fraud . . . .” Kearns v. Ford Motor Co., 567 F.3d
  1120, 1124 (9th Cir. 2009). “Rule 9(b) demands that the circumstances constituting the alleged
  fraud ‘be specific enough to give defendants notice of the particular misconduct . . . so that they
  can defend against the charge and not just deny that they have done anything
  wrong.” Id. (quoting Bly-Magee v. California, 236 F.3d 1014, 1019 (9th Cir. 2001)) (omitting
  internal quotation marks). “A party alleging fraud must ‘set forth more than the neutral facts
  necessary to identify the transaction.’” Id. (quoting In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
  1548 (9th Cir. 1994)). “Averments of fraud must be accompanied by ‘the who, what, when, where,
  and how’ of the misconduct charged.” Id. (quoting Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097,
  1102 (9th Cir. 2003)) (omitting internal quotation marks); see also U.S. ex rel. Anita Silingo v.
  WellPoint, Inc., 904 F.3d 667, 677 (9th Cir. 2018). Moreover, “[t]o satisfy Rule 9(b), a fraud suit
  against differently situated defendants must ‘identify the role of each defendant in the alleged
  fraudulent scheme.’” Silingo, 904 F.3d at 677 (quoting Swartz v. KPMG LLP, 476 F.3d 756, 765
  (9th Cir. 2007)).
  III. Discussion
         A. Applicable Law
         Plaintiffs bring their misrepresentation claims under the FAL, UCL, and CLRA. The FAL
  prohibits businesses from disseminating statements that are “untrue or misleading, and which [are]
  known, or which by the exercise of reasonable care should be known, to be untrue or
  misleading.” Cal. Bus. & Prof. Code § 17500. The UCL prohibits “any unlawful, unfair or
  fraudulent business act or practice,” as well as any “unfair, deceptive, untrue or misleading


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  advertising” and any violation of the FAL. Cal. Bus. & Prof. Code § 17200; see also Kasky v.
  Nike, Inc., 27 Cal. 4th 939, 951 (2002) (noting that “‘[a]ny violation of the false advertising law .
  . . necessarily violates’ the UCL.” (quoting Comm. On Children’s Television, Inc. v. Gen. Foods
  Corp., 35 Cal. 3d 197, 210 (1983)) (alterations in original)).                        The CLRA “proscribes
  specified ‘unfair methods of competition and unfair or deceptive acts or practices’ in transactions
  for the sale or lease of goods to consumers.” Daugherty v. Am. Honda Motor Co., 144 Cal. App.
  4th 824, 833 (2006) (quoting Cal. Civ. Code. § 1770(a)).
          The FAL and UCL “prohibit ‘not only advertising which is false, but also advertising
  which[,] although true, is either actually misleading or which has the capacity, likelihood or
  tendency to deceive or confuse the public.’” Kasky, 27 Cal. 4th 939 (quoting Leoni v. State Bar,
  39 Cal. 3d 609, 626 (1985)) (alteration in original); see also Day v. AT & T Corp., 63 Cal. App.
  4th 325, 332-33 (1998) (“A perfectly true statement couched in such a manner that it is likely to
  mislead or deceive the consumer, such as by failure to disclose other relevant information, is
  actionable under these sections.”). To plead a FAL or UCL claim “based on false advertising or
  promotional practices,” a plaintiff need “only . . . show that members of the public are likely to be
  deceived.” Kasky, 27 Cal. 4th 939 (quoting Comm. On Children’s Television, 35 Cal. 3d at
  211). “Whether an advertisement is ‘misleading’ must be judged by the effect it would have on a
  reasonable consumer.” Davis v. HSBC Bank Nev., N.A., 691 F.3d 1152, 1161 (9th Cir. 2012). “A
  reasonable      consumer       is    ‘the    ordinary      consumer       acting     reasonably      under      the
  circumstances.’” Id. at 1162 (quoting Colgan v. Leatherman Tool Grp., Inc., 135 Cal. App. 4th
  663, 682 (2006)). “The standards for determining whether a representation is misleading under
  the False Advertising Law apply equally to claims under the CLRA. Conduct that is ‘likely to
  mislead a reasonable consumer’ thus violates the CLRA.” Colgan, 135 Cal. App. 4th at 680
  (citations omitted); see also Williams v. Gerber Products, 552 F.3d 934, 938 (9th Cir. 2008)
  (“Appellants’ claims under [the UCL, FAL, and CLRA] are governed by the ‘reasonable
  consumer’ test.”).
                   1. Knowledge or Intent
          Unlike common law fraud,6 California’s consumer protection statutes do not normally



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         “The elements of fraud, which give rise to the tort action for deceit, are (1) a misrepresentation, (2) with
  knowledge of its falsity, (3) with the intent to induce another’s reliance on the misrepresentation, (4) justifiable
  reliance, and (5) resulting damage.” Conroy v. Regents of Univ. of California, 45 Cal. 4th 1244, 1255 (2009).

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  require a plaintiff to allege that the defendant had knowledge of the falsity and an intent to deceive;
  rather, “a defendant can violate the UCL, FAL, and CLRA by acting with mere negligence.”
  Moore v. Mars Petcare US, Inc., 966 F.3d 1007, 1019 n.11 (9th Cir. 2020). A violation of the
  FAL requires the defendant to have acted at least negligently. See Cal. Bus. & Prof. Code
  § 17500 (prohibiting the making of an untrue or misleading statement “which is known, or which
  by the exercise of reasonable care should be known, to be untrue or misleading”); Beyer v.
  Symantec Corp., 333 F. Supp. 3d 966, 981 (N.D. Cal. 2018) (“A claim under the FAL requires that
  the defendant have known or reasonably should have known that the statement in question was
  misleading.”). The UCL, by contrast, “imposes strict liability.” Paduano v. Am. Honda Motor
  Co., 169 Cal. App. 4th 1453, 1468 (2009) (quoting S. Bay Chevrolet v. Gen. Motors Acceptance
  Corp., 72 Cal. App. 4th 861, 877 (1999)); see also Bank of the W. v. Superior Ct., 2 Cal. 4th 1254,
  1267 (1992) (“[T]o state a claim under the [UCL] one need not plead and prove the elements of a
  tort.”). However, because each of the “prongs” of the UCL provide an independent basis for relief
  – and because the “unlawful” prong “borrows” violations of other federal or state laws – whether
  intent or knowledge is an element of a UCL claim will sometimes depend on the underlying
  offense. See e.g., Irwin v. Mascott, 94 F. Supp. 2d 1052, 1057 (N.D. Cal. 2000).
         The level of knowledge required under the CLRA is somewhat less settled. In Wilson v.
  Hewlett-Packard Co., the Ninth Circuit held that “under the CLRA, plaintiffs must sufficiently
  allege that a defendant was aware of a defect at the time of sale to survive a motion to dismiss.”
  668 F.3d 1136, 1145 (9th Cir. 2012). Wilson was a product defect case, and the claim at issue was
  based on the sale of the defective product and not its being mislabeled or falsely advertised. In
  other words, the plaintiffs in Wilson asserted a theory of misrepresentation based on the
  defendant’s omissions, rather than any affirmative misrepresentation. See generally Daugherty v.
  Am. Honda Motor Co., 144 Cal. App. 4th 824, 833-87 (2006) (discussing fraudulent omissions
  theory). Even so, some courts have applied Wilson’s knowledge requirement to affirmative
  misrepresentation claims (and to claims not involving product safety defects). See, e.g., Coleman-
  Anacleto v. Samsung Elecs. Am., Inc., No. 16-cv-02941-LHK, 2017 WL 86033, at *7 (N.D. Cal.
  Jan. 10, 2017) (“A plaintiff must sufficiently allege a defendant’s knowledge at the time of sale in
  order to state a CLRA claim under an affirmative misrepresentation theory just as a plaintiff must
  do so in order to state a CLRA claim under a fraudulent omission theory.”) (collecting cases).
  Other courts have read Wilson more narrowly. See, e.g., Martin v. Ford Motor Co., No. CV 20-


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  10365-DMG (JPRx), 2022 WL 2062470, at *4 (C.D. Cal. Feb. 17, 2022) (“As a general matter,
  the UCL and CLRA can be violated by ‘mere negligence,’ so knowledge of the falsity of a
  representation is not a required element.” (quoting Moore, 966 F.3d at 1019 n.11)); Racies v.
  Quincy Bioscience, LLC, No. 15-CV-00292-HSG, 2016 WL 5746307, at *6 (N.D. Cal. Sept. 30,
  2016) (“Under . . . California Supreme Court and Ninth Circuit precedents, the Court finds that
  Plaintiff did not need to present evidence that Defendant knew the affirmative label representations
  at issue were false.”). Given this ambiguity, and given that both parties agree that negligence is
  the appropriate standard under at least the FAL, the Court will assume for present purposes that
  knowledge of the falsity is not a requirement under the CLRA on the facts of this case.
                   2. Puffery and Statements of Opinion
          Under California’s consumer protection statutes, “[g]eneralized, vague, and unspecified
  assertions constitute ‘mere puffery’ upon which a reasonable consumer could not rely, and hence
  are not actionable.” Anunziato v. eMachines, Inc., 402 F. Supp. 2d 1133, 1139 (C.D. Cal. 2005);
  see also Edmunson v. Procter & Gamble Co., No. 10-CV-2256-IEG NLS, 2011 WL 1897625, at
  *3 (S.D. Cal. May 17, 2011) (“An alleged misrepresentation must relate to an objectively verifiable
  fact; subjective representations related to product superiority are mere puffery and are not
  actionable.”). “Statements of this kind cannot ground liability for falsity because no reasonable
  consumer would be inclined to think of them as statements of fact, rather than as statements of
  opinion. And since statements of opinion are presumed not to mislead reasonable consumers,
  statements of sales puffery do not count as false advertising.” Bezirganyan v. BMW of N. Am.,
  LLC, 562 F. Supp. 3d 633, 643 (C.D. Cal. 2021); see also Consumer Advocate v. Echostar Satellite
  Corp., 113 Cal. App. 4th 1351, 1361 & n.3 (2003) (holding that “a claim which no reasonable
  consumer would take as anything more weighty than an advertising slogan” is not actionable);
  Demetriades v. Yelp, Inc., 228 Cal. App. 4th 294, 311 (2014) (“A statement is considered puffery
  if the claim is extremely unlikely to induce consume reliance.” (quoting Newcal Indus., Inc. v.
  Ikon Off. Sol., 513 F.3d 1038, 1053 (9th Cir. 2008))).
          “Ultimately, the difference between a statement of fact and mere puffery rests in the
  specificity or generality of the claim.” Newcal, 513 F.3d at 1053 (citing Cook, Perkiss & Liehe,
  Inc. v. N. California Collection Serv. Inc., 911 F.2d 242, 246 (9th Cir. 1990)).7 “An actionable


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         Though Newcal, Cook, and several other cases cited herein involved federal claims under the Lanham Act – a
  statute not at issue here – the standard governing nonactionable puffery under the Lanham Act has been applied

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   statement is ‘a specific and measurable claim, capable of being proved false or of being reasonably
   interpreted as a statement of objective fact.’” Ariix, LLC v. NutriSearch Corp., 985 F.3d 1107,
   1121 (9th Cir. 2021) (quoting Coastal Abstract Serv., Inc. v. First Am. Title Ins. Co., 173 F.3d 725,
   730 (9th Cir. 1999)). By contrast, puffery “is a general claim of superiority or exaggeration which
   is ‘expressed in broad, vague or commendatory language’” and lacks “the kind of detailed or
   specific factual assertions that are necessary to” test the truth of the claim. In re Century 21-
   RE/MAX Real Est. Advert. Claims Litig., 882 F. Supp. 915, 926 (C.D. Cal. 1994) (quoting Castrol,
   Inc. v. Pennzoil Company, 987 F.2d 939, 945 (3rd Cir. 1993) and Cook, 911 F.2d at 246).8
             Whether a business practice is deceptive is generally a question of fact unfit for decision
   on a motion to dismiss. See Williams, 552 F.3d at 938-39. However, certain types of statements
   “are not actionable as a matter of law.” Shaeffer v. Califia Farms, LLC, 44 Cal. App. 5th 1125,
   1139 (2020) (affirming dismissal of claim involving a “truthful statement about one’s own
   product”); see also Moore v. Trader Joe’s Co., 4 F.4th 874, 886 (9th Cir. 2021) (affirming
   dismissal on grounds that representations were not misleading as a matter of law). In the context
   of the Lanham Act, the Ninth Circuit has stated that “the determination of whether an alleged
   misrepresentation ‘is a statement of fact’ or is instead ‘mere puffery’ is a legal question that may
   be resolved on a Rule 12(b)(6) motion.” Newcal, 513 F.3d at 1053 (citing Cook, 911 F.2d at 246);
   accord Int’l Code Council, 43 F.4th at 60 (“If the challenged advertisements fall under the first
   form of puffery – subjective statements of opinion which cannot be proven false – then courts treat
   them as non-actionable puffery as a matter of law.”). Accordingly, district courts often dismiss
   claims under California’s consumer protection statutes as puffery at the pleading stage. See, e.g.,
   Haskell v. Time, Inc., 857 F. Supp. 1392, 1399 (E.D. Cal. 1994) (dismissing claims under the FAL
   and UCL and noting that “if the alleged misrepresentation, in context, is such that no reasonable



   interchangeably in the context of state law claims. See, e.g., Williams, 552 F.3d at 939 n.3 (citing Cook in context of
   discussing whether statements were puffery under the UCL and CLRA); Paduano, 169 Cal. App. 4th at 1500
   (O’Rourke, J., concurring in part and dissenting in part) (same).
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          Some courts recognize two distinct forms of puffery: “The first encompasses subjective claims about products,
   which cannot be proven either true or false. It often manifests as exaggerations or overstatements that mention nothing
   specific, but rather amount to general claims of superiority expressed in broad, vague, and commendatory language
   that are considered to be offered and understood as an expression of the seller’s opinion only. The second form of
   puffery involves exaggerated, blustering, and boasting statements that are objective – and therefore technically
   provable – but upon which no reasonable buyer would be justified in relying.” Int’l Code Council, Inc. v. UpCodes
   Inc., 43 F.4th 46, 59-60 (2d Cir. 2022) (cleaned up). Although the Ninth Circuit does not appear to have placed any
   special significance on this distinction, the Court notes that the claims at issue here pertain to the first form of puffery.

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   consumer could be misled, then the allegation may also be dismissed as a matter of law”); Baltazar
   v. Apple Inc., No. C 10-03231 WHA, 2011 WL 6747884, at *4 (N.D. Cal. Dec. 22, 2011) (“If an
   alleged misrepresentation would not deceive a reasonable consumer or amounts to mere puffery,
   then the claim may be dismissed as a matter of law.”).
           B. 2U’s Arguments
           2U’s leading argument is that Plaintiffs have not pled any actionable statement by 2U. 2U
   categorizes the alleged misrepresentations at issue into two groups: (1) statements that USC
   Rossier was “top-ranked,” and (2) statements which included the specific numerical ranking
   assigned by US News. According to 2U, both types of statements are nonactionable puffery or
   statements of opinion.
                   1. “Top-Ranked” Statements
           The first category of statements Plaintiffs allege to be misleading are statements that USC
   Rossier was “top-ranked.” For example, the SAC alleges:
           In 2018, Defendants refer to USC Rossier as ‘top-ranked’ in the first sentence of
           the 2U-run webpage devoted to USC Rossier’ online MAT program, with a note
           referring to USC Rossier’s #10 2018 ranking in US News’ ‘Best Graduate Schools
           of Education.’ 2U has also used the same ‘top-ranked’ language to describe USC
           Rossier’s Online Degrees in other marketing materials, including press releases.
   SAC ¶ 88(c) (footnotes omitted); see also SAC ¶ 91 (“Even though USC Rossier has abandoned
   the Best Education Schools Rankings, the ‘bio’ at the top of USC Rossier’s MAT program’s
   Twitter page (@USCTeacher) still referred to the ‘top-ranked @USCRossier School of Education’
   as of the date of filing this complaint.”).
           The Court agrees with 2U that these statements are textbook puffery. See McLaughlin v.
   Homelight, Inc., No. 2:21-cv-05379-MCS-KES, 2021 WL 5986913, at *4 (C.D. Cal. Sept. 17,
   2021) (collecting cases finding that claims involving the term “top” are nonactionable puffery).
   The claim that a school is “top-ranked” is both “vague [and] highly subjective” and lacks “the kind
   of detailed or specific factual assertions that are necessary to” test the truth of the claim. Cook,
   911 F.2d at 246 (first quote quoting Sterling Drug, Inc. v. F.T.C., 741 F.2d 1146, 1150 (9th Cir.
   1984)). It fails to specify, for instance, by whom the school has been ranked, or according to what
   criteria. Moreover, as stated by another court with respect to a very similar representation: “In
   order to prove falsity, one would need to know which schools are ‘top universities.’ To some, this
   might indicate the top ten universities in the nation, while others might consider a much larger



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   number.” CollegeNet, Inc. v. Embark.Com, Inc., 230 F. Supp. 2d 1167, 1177 (D. Or. 2001).9 In
   short, these “top-ranked” statements amount to no more than “general claim[s] of superiority or
   exaggeration” and therefore are not actionable. Century 21, 882 F. Supp. at 926 (quoting Castrol,
   987 F.2d 945).
            Perhaps recognizing the difficulty in basing their misrepresentation claims on these “top-
   ranked” statements,10 Plaintiffs instead attempt to shift the focus to Defendants’ overarching
   advertising campaign. They argue that “[o]ccasional references to the program being ‘top-ranked’
   must be read in” the context of Defendants’ “coordinated campaign to convey an overall message
   that Rossier was more highly ranked by US News than it was in fact.” Opp. at 16. Read in that
   context, Plaintiffs contend, “consumers would reasonably understand the phrase as shorthand that
   reinforces the overall message.” Id. Even if the Court were to accept this theory, however, that
   would not save Plaintiffs’ “top-rated” claims. That is because, as discussed infra, the overarching
   advertising campaign to which Plaintiffs attempt to link the “top-rated” claims is itself not
   actionable against 2U.
                     2. Statements Including US News’ Numerical Ranking
            The second category of alleged misrepresentations are advertisements that included a
   specific numerical ranking assigned by US News. For example, the SAC alleges:
            a. On April 23, 2009, USC published a “News Alert” on the Rossier Website
            celebrating the fact that it “ha[d] just been ranked 22nd in U.S. News and World
            Report’s 2010 edition of America’s Best Graduate Schools”;
            b. On April 19, 2011, USC published a press release regarding Defendants’ Online
            MAT Program, promoting the fact that “the USC Rossier School was ranked #14 .
            . . by U.S. News and World Report this year”;
            c. A February 6, 2013, USC Rossier press release entitled “USC Rossier Dean
            Gallagher Honored by California Superintendents” stated, “Since becoming dean
            of the USC Rossier School of Education in 2000, Gallagher has moved the school


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         Plaintiffs’ attempt to distinguish CollegeNet is unavailing. Plaintiffs argue that unlike the unqualified “top
   universities” statement at issue in that case, the phrase “top-ranked” here implicitly means “top-ranked by US News”
   which, according to Plaintiffs, can be proven false. However, even assuming arguendo that “top-ranked” does indeed
   imply a ranking by US News as opposed to some other organization, that would do nothing to get around the
   underlying problem identified in CollegeNet: that what constitutes a “top” ranked university – even a top-ranked
   university by US News – is essentially unquantifiable.
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           Indeed, Plaintiffs previously appeared to disclaim their intention to hold 2U liable for statements that simply
   refer to USC Rossier as “top-ranked” unaccompanied by any reference to a particular numerical ranking. See ECF
   No. 51 at 19 n.9.



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            to #15 in the US News & World Report national rankings” . . . .
   SAC ¶ 83.11
            2U argues that these statements are nonactionable statements of opinion under the Ninth
   Circuit’s decision in Ariix, 985 F.3d 1107. In Ariix, a nutrition supplement company brought a
   Lanham Act false advertising claim against the publisher and author of a nutrition supplement
   guide. Id. at 1111. The guide rated various products, including the plaintiff’s, according to a “five-
   star rating system based on 18 criteria.” Id. The district court dismissed the plaintiff’s claim that
   the ratings were misleading as to the quality of the plaintiff’s goods, in part on the grounds that
   the ratings were nonactionable. Id. at 1114. The Ninth Circuit agreed with that conclusion and
   held that the ratings were “simply statements of opinion about the relative quality of
   various nutritional supplement products.” Id. at 1121. In so holding, the court rejected the
   plaintiff’s argument that the ratings were “factual” – and therefore actionable – “because the Guide
   purports to rely on scientific and objective criteria.” Id. The court reasoned instead that “there is
   an inherently subjective element in deciding which scientific and objective criteria to consider.”
   Id. To illustrate, the court drew an analogy to school rankings, stating that “publications that rank
   colleges or law schools purportedly rely on objective criteria (e.g., acceptance rates, test scores,
   class size, endowment), but selecting those criteria involves subjective decision-making.” Id.
            USC relied heavily on Ariix in its prior motion to dismiss, arguing that because school
   rankings have been deemed statements of opinion by the Ninth Circuit, USC could not be held
   liable for its promotion of US News’ rankings in this case. The Court rejected that argument and
   allowed the claims against USC to proceed. In distinguishing Ariix, the Court highlighted that
   Plaintiffs’ allegations in this case:
            do not target US News’ selection or weighing of the objective criteria which
            determine the rankings. . . . Instead, Plaintiffs claim that Defendants knowingly
            reported false data to US News. Those underlying data are entirely falsifiable, and
            the weight that they were to be assigned by US News was predetermined. The fact
            that such data were considered alongside other subjective considerations to produce
            a final ranking does not render USC’s promotion of the allegedly fraudulently
            obtained ranking non-actionable. As Plaintiffs note, if the law were otherwise, “any
            business that submits false information to get a certification . . . could not be held
            liable because each of those certifications would have at their core a methodology
            based on an opinion as to which data points should be considered.”


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         As discussed infra, 2U also argues that it may not be held liable for any of these statements because they were
   made by USC.

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   Order at 7-8 (footnote and citation omitted).
          Predictably, the parties read the Court’s discussion of Ariix quite differently. 2U asserts
   that the Court’s decision to allow the claims against USC to proceed hinged upon the allegations
   that USC fraudulently and knowingly submitted false data. Absent similar allegations that 2U
   participated in the submission of the false data or otherwise had knowledge of the falsity, 2U
   argues that the Court’s reasoning no longer applies, bringing Plaintiffs’ claims squarely within the
   ambit of Ariix. 2U thus construes the Court’s decision as an articulation of the “well-established
   exception” to the rule that statements of opinion are not actionable “if ‘the speaker has knowledge
   of facts not warranting the opinion.’” PhotoMedex, Inc. v. Irwin, 601 F.3d 919, 931 (9th Cir. 2010)
   (quoting Richard P. v. Vista Del Mar Child Care Serv., 106 Cal. App. 3d 860, 866 (1980)).
   Plaintiffs, on the hand, focus on the Court’s language distinguishing Ariix on the basis that their
   claims “do not target US News’ selection or weighing of the objective criteria which determine
   the rankings,” Order at 7, but instead are centered on the falsifiable data which underlie the
   rankings. Given that distinction, Plaintiffs maintain, the absence of allegations that 2U participated
   in or had affirmative knowledge of the misreporting of data is immaterial: The rankings are, for
   purposes of Plaintiffs’ claims against both Defendants, not statements of opinion, and 2U can be
   held liable for its promotion of them just as it would any other misrepresentation (i.e., without
   showing knowledge of the falsity).
          Although the parties’ confusion is understandable, 2U is correct that underlying the Court’s
   reasoning (and indeed explicitly noted in the above-quoted passage) was the basic premise that
   USC knowingly reported false data. It was for that reason that the Court granted 2U’s motion to
   dismiss, noting that “Plaintiffs have not provided sufficient facts to infer 2U’s knowledge of the
   falsity.” Id. at 12. To proceed on their claims against 2U, then, Plaintiffs must allege that 2U also
   knew of that falsity or lacked a good faith belief in the accuracy of the rankings.
          Neither party has cited a case brought under California’s consumer protection statutes
   which addresses these precise issues. Nevertheless, courts have considered the extent of liability
   for opinion statements in a variety of other contexts (e.g., common law fraud, negligent
   misrepresentation, defamation, false advertising under the Lanham Act, and violation of federal
   securities laws). The resulting bodies of case law are consistent with one another and reveal a few
   common threads that the Court finds instructive here. See Omnicare, Inc. v. Laborers Dist. Council
   Const. Indus. Pension Fund, 575 U.S. 175, 192 n.9 (2015) (citing the Restatement of Torts in


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   securities misrepresentation case, noting that while “Section 11 [of the Securities Act of 1933] is,
   of course, ‘not coextensive with common-law doctrines of fraud’ . . . , we may still look to the
   common law for its insights into how a reasonable person understands statements of opinion”).
          First, as 2U points out, ratings and rankings like the ones US News publishes are almost
   universally treated as statements of opinion. See, e.g., Ariix, 985 F.3d 1121 (Lanham Act);
   NetScout Sys., Inc. v. Gartner, Inc., 334 Conn. 396, 414-22 (2020) (defamation); Plumbers’ Union
   Loc. No. 12 Pension Fund v. Nomura Asset Acceptance Corp., 632 F.3d 762, 775 (1st Cir. 2011)
   (securities laws).   The reasoning underlying these decisions is that “a reasonable observer
   understands that placement on and ranking within the bulk of such lists constitutes opinion, not a
   provable fact.” Seaton v. TripAdvisor LLC, 728 F.3d 592, 600 (6th Cir. 2013). Moreover, “even
   if [one] could draw any fact-based inferences from [the] rating, such inferences could not be proven
   false because of the inherently subjective nature of [the] ratings calculation.” Compuware Corp.
   v. Moody’s Invs. Servs., Inc., 499 F.3d 520, 529 (6th Cir. 2007). The Court broadly agrees with
   that reasoning and thus construes the US News rankings as statements of opinion.
          That does not necessarily end the inquiry, however. Another common thread in the case
   law is that while statements of opinion are generally not actionable, exceptions exists when the
   one stating the opinion has special information/expertise or knows of facts not warranting the
   opinion. For example, in the context of common law fraud, there are “two exceptions to the rule
   that expressions of opinion are not actionable: (1) “if the party expressing it does not honestly
   entertain that opinion,” and (2) “the party making the false representation of opinion has superior
   knowledge or special information.” Ogier v. Pac. Oil & Gas Dev. Corp., 132 Cal. App. 2d 496,
   506-07 (1955). Similarly, under the law of negligent misrepresentation, “when a party possesses
   or holds itself out as possessing superior knowledge or special information or expertise regarding
   the subject matter and a plaintiff is so situated that it may reasonably rely on such supposed
   knowledge, information, or expertise, the defendant’s representation may be treated as one of
   material fact.” Bily v. Arthur Young & Co., 3 Cal. 4th 370, 408 (1992); see also Anschutz Corp.
   v. Merrill Lynch & Co. Inc., 785 F. Supp. 2d 799, 824-25 (N.D. Cal. 2011) (“[W]hether treated as
   a statement of material fact under Bily or considered an actionable opinion under Ogier, [the
   plaintiff] may bring negligent misrepresentation claims against [the defendants] if plaintiff alleges
   that the [defendants] did not honestly entertain the opinions about the ratings at the time they were
   issued.”).   And under Section 11 of the Securities Act of 1933, liability for material


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   misrepresentations contained in opinion statements requires alleging “both that ‘the speaker did
   not hold the belief she professed’ and that the belief is objectively untrue.” City of Dearborn
   Heights Act 345 Police & Fire Ret. Sys. v. Align Tech., Inc., 856 F.3d 605, 615 (9th Cir. 2017)
   (quoting Omnicare, 575 U.S. at 185-86).12                 The rationale for these exceptions is that an
   “‘expression of an opinion may carry with it an implied assertion, not only that the speaker knows
   no facts which would preclude such an opinion, but that he does know facts which justify it.’ That
   is especially (and traditionally) the case . . . where . . . a speaker ‘holds himself out or is understood
   as having special knowledge of the matter which is not available to the plaintiff.’” Omnicare, 575
   U.S. 191-92 (quoting W. Keeton et al., Prosser and Keeton on the Law of Torts § 109 at 760-61
   (5th ed. 1984)).
            The Ninth Circuit’s articulation in PhotoMedex of the “well-established exception” based
   on the speaker’s “knowledge of facts not warranting the opinion” is another articulation of these
   general principles. 601 F.3d at 931 (second quote quoting Richard P., 106 Cal. App. 3d at 866).
   PhotoMedex involved false advertising claims under the Lanham Act, FAL, and UCL. Among
   the representations at issue were the defendants’ statements regarding the anticipated release date
   of their product, the Pharos laser. See id. The district court interpreted those predictions as “mere
   statements of opinion regarding future events, which are generally not actionable,” and
   accordingly granted summary judgment in favor of the defendants. Id. The Ninth Circuit,
   however, vacated summary judgment on the grounds that “a statement known at that time by the
   speaker to be false, or a statement by a speaker who lacks a good faith belief in the truth of the
   statement, may constitute an actionable misrepresentation.” Id. Thus, the court concluded, the
   defendants could be held “liable for misrepresentation if they said that the Pharos would be
   available in August 2003 but knew that it would not or could not actually be available until a
   substantially later date.” Id. (emphasis added); see also id. at 932 (finding triable issue of fact as
   to “whether Defendants intentionally misrepresented the Pharos’s release date” (emphasis added)).
            The Court finds PhotoMedex applicable in this case – albeit with one slight wrinkle. Unlike
   in PhotoMedex, Defendants here did not themselves form the challenged opinion – US News did.
   Thus, Plaintiffs are seeking to hold Defendants liable for merely repeating the opinion of another.


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           In the securities context, “pleading falsity by alleging that ‘there is no reasonable basis for the [opinion
   statement]’ is permissible only under an omissions theory of liability.” Id. at 616. Plaintiffs previously disclaimed
   that they were pursuing a pure omissions theory, and they put forth no argument on that issue here. Further, even if
   Plaintiffs were to proceed on an omissions theory, they would likely still need to plead knowledge under Wilson.

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   That distinction should not fundamentally alter the analysis, however. Just as a reasonable
   consumer could construe US News’ own statement of opinion as implying that it had some basis
   for the opinion, a reasonable consumer could also construe Defendants’ affirmation of US News’
   opinion as implying that Defendants held some good faith belief in its accuracy (i.e., that it was
   not fraudulently obtained).
           Indeed, this very issue has arisen in the context of residential mortgage-backed securities
   (“RMBS”) litigation. The plaintiffs in those cases, purchasers of certificates in RMBS, asserted
   claims against the banks for making material misstatements or omissions in their offering
   documents. Among the alleged misstatements were the banks’ accurate reporting of credit ratings
   assigned by third-party credit rating agencies, which the plaintiffs claimed were based on false or
   misleading underlying data. In response to arguments by the banks that the credit ratings were
   nonactionable statements of opinion, courts have held that the banks could still be held liable for
   accurately repeating such statements if it was alleged that they “procured the false ratings by [the]
   provision of misleading information,” Assured Guar. Mun. Corp. v. UBS Real Estate Sec.,
   Inc., No. 12 CV 1579(HB), 2012 WL 3525613, at *5 (S.D.N.Y. Aug. 15, 2012), or “knew that the
   underlying data was faulty and so . . . there was no real basis for the credit ratings,” Cap. Ventures
   Int’l v. J.P. Morgan Mortg. Acquisition Corp., No. CIV.A. 12-10085-RWZ, 2013 WL 535320, at
   *6 (D. Mass. Feb. 13, 2013). See also In re Countrywide Fin. Corp. Mortg.-Backed Sec. Litig.,
   932 F. Supp. 2d 1095, 1113 n.13 (C.D. Cal. 2013) (“Accurately reporting a credit rating that
   Countrywide knew was based on false information is a misstatement for purposes of Section 11.”);
   In re Bear Stearns Mortg. Pass-Through Certificates Litig., 851 F. Supp. 2d 746, 770-71 (S.D.N.Y.
   2012) (“Here, there are two ‘speakers’: the agencies that rated the Certificates, and Defendants,
   who presented those ratings to investors in the Offerings Documents. Thus, Plaintiffs can state a
   claim by pleading that the Rating Agencies or Defendants did not believe that the ratings
   accurately reflected the quality of the securities.”).
           Based on the foregoing analysis, the Court concludes that to state a claim for
   misrepresentation against 2U, Plaintiffs must allege that Defendants had “knowledge of facts not
   warranting [US News’] opinion” or lacked “a good faith belief in the truth of the statement.”
   PhotoMedex, 601 F.3d at 931 (first quote quoting Richard P., 106 Cal. App. 3d at 866). Plaintiffs
   have met that standard as to USC by alleging that USC itself provided the false data to US News.
   The same cannot be said for 2U, however. The Court previously found that Plaintiffs’ allegations


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   against 2U “f[e]ll short of pleading that 2U in fact knew the submission of data to US News was
   false or that the ranking was fraudulently obtained.” Order at 12-13. Rather than shore up those
   allegations in their amended complaints, Plaintiffs have instead taken the opposite approach, now
   faulting 2U for merely failing to investigate or learn of the falsity. See, e.g., SAC ¶ 97 (“2U should
   have discovered through the exercise of reasonable care the discrepancy between USC Rossier’s
   actual student selectivity data, on the one hand, and the fraudulently manipulated data that USC
   Rossier submitted to US News, on the other hand.”), ¶ 177 (“At a minimum, 2U engaged in the
   aforementioned acts negligently.”). As explained, such allegations of negligence are insufficient.
          Plaintiffs place a great deal of emphasis on the fact that specific knowledge of the falsity
   is not a required element under California’s consumer protection statutes and instead mere
   negligence suffices. But the mens rea requirement under the statutes addresses a separate issue.
   Although Plaintiffs are correct that the negligent dissemination of a false statement of fact would
   suffice, Plaintiffs do not allege that 2U’s advertisements were literally false, nor could they. The
   question here, therefore, is whether 2U’s advertisements are even actionable in the first instance –
   i.e., are they misleading because they imply any false assertions upon which a reasonable consumer
   could rely? In most instances involving statements of opinion, the answer to that question will be
   “no.” In some cases, however, a statement of opinion may “reasonably ‘be interpreted . . . as an
   implied statement’ that the speaker ‘knows facts sufficient to justify him in forming’ the opinion,
   or that he at least knows no facts ‘incompatible with [the] opinion.’” Omnicare, 575 U.S. 191
   (quoting Restatement (Second) of Torts § 539, p. 85 (1976)). If and only if that implied statement
   is false – and the speaker does know of undisclosed fact incompatible with the opinion – is the
   opinion is misleading. In other words, requiring that Plaintiffs allege knowledge of the falsity
   underlying US News’ opinions in not contradicted by the absence of a mens rea requirement under
   the statutes; indeed, the same was true in PhotoMedex.
                  3. Joint/Secondary Liability
          Plaintiffs also invoke a theory of joint liability, seeking to hold 2U liable based on its role
   in the advertising campaign as a whole. 2U argues that Plaintiffs have not pled sufficient facts to
   support such a theory.
          It is well-settled that liability under the UCL “cannot be predicated on vicarious liability.”
   Emery v. Visa Internat. Serv. Ass’n, 95 Cal. App. 4th 952, 960 (2002). Instead, “[a] defendant’s
   liability must be based on his personal ‘participation in the unlawful practices’ and ‘unbridled


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   control’ over the practices that are found to violate [the UCL] or [FAL].” Id. (quoting People v.
   Toomey, 157 Cal. App. 3d 1, 14 (1984)). District courts have applied the same standard under the
   CLRA. See In re Hydroxycut Mktg. & Sales Pracs. Litig., 299 F.R.D. 648, 656 (S.D. Cal. 2014)
   (“Similarly, under the CLRA, absent allegations of participation or control, defendants cannot be
   held secondarily liable for the acts of third parties.”); In re Jamster Mktg. Litig., No. 05CV0819
   JM (CAB), 2009 WL 1456632, at *9 (S.D. Cal. May 22, 2009); Sawyer v. Bill Me Later, Inc., No.
   CV 10-04461 SJO (JCGx), 2010 WL 11492736, at *10 (C.D. Cal. Dec. 14, 2010). In determining
   whether Emery’s “personal participation” and “unbridled control” prongs have been met, courts
   have focused on various factors such as whether the defendant: (1) “issued [its] own
   advertisements” or merely repeated the deceptive statements of another, In re Hydroxycut Mktg.
   & Sales Pracs. Litig., 299 F.R.D. 648, 656 (S.D. Cal. 2014); (2) “controlled the language” or
   “reviewed or monitored the representations” made by another, Reed v. NBTY, Inc., No. EDCV 13-
   0142 JGB (OPx), 2014 WL 12284044, at *11 (C.D. Cal. Nov. 18, 2014); or (3) had notice of the
   violating conduct, see Hanna v. Walmart Inc., No. 5:20-cv-01075-MCS-SHK, 2020 WL 7345680,
   at *5 (C.D. Cal. Nov. 4, 2020).
          In support of their joint liability theory, Plaintiffs rely primarily on provisions of the
   services agreement between 2U and USC. They point out that under the agreement, “USC was
   required to (1) market the online programs ‘in a manner comparable to’ the in-person programs;
   (2) ‘consult with [2U] in the development of additional Promotional Strategies’; and (3) provide
   2U ‘with access to information pertaining to both classroom-based and online students’
   admissions, performance, and post-graduation outcomes.’” Opp. at 13-14 (citations omitted).
   According to Plaintiffs, these provisions – coupled with 2U’s financial incentive in ensuring the
   success of the programs – demonstrate that 2U and USC engaged in “an extensive, joint campaign”
   to advertise the US News rankings. Opp. at 13.
          Plaintiffs liken this case to Dorfman v. NutraMax Labs., Inc., No. 13-cv-0873-WQH, 2013
   WL 5353043 (S.D. Cal. Sep. 23, 2013), in which the court allowed to proceed claims against two
   defendant-retailers who marketed and sold the products of the defendant-manufacturer. The court
   found the plaintiff’s allegations that the retailers “entered into marketing and sales agreements”
   with the manufacturer, “provided pictures of the false and deceptive packing and labeling,” and
   made “statements on their websites that repeat and reinforce the false and misleading statements,”
   were sufficient under the Emery test. Id. at *14 (cleaned up). Plaintiffs’ reliance on Dorfman,


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   however, is misplaced. For one thing, several courts have distinguished Dorfman and/or have
   declined to adopt a broad reading of it like the one Plaintiffs suggest here. See, e.g., In re
   Hydroxycut, 299 F.R.D. at 657 (“To the extent that Dorfman can be read as holding that a retailer
   defendant who disseminates or repeats deceptive statements can be held liable under the UCL and
   CLRA for statements on product packaging that the retailer did not control, the Court disagrees
   with Dorfman.”). More importantly, the retailer defendants in Dorfman were alleged to have made
   misleading statements on their own websites. Here, by contrast, while Plaintiffs vaguely reference
   2U’s “dissemination” of USC’s advertisements (including by purchasing search terms from
   Google and “invest[ing] in advertising via display ad networks”), see SAC ¶¶ 80, 110, 147, they
   fail to allege that 2U actually issued or authored any of the advertisements upon which Plaintiffs
   relied. See In re Hydroxycut, 299 F.R.D. at 656 (dismissing claims where the plaintiffs failed to
   allege that “they saw/heard a specific representation made, adopted, or controlled by a Retailer
   Defendant”); Reed, 2014 WL 12284044, at *11 (granting summary judgment where third party
   “had substantial discretion as to the claims made on its website, could write its own content without
   Defendants’ oversight, and had exclusive control over some of the areas which contained the
   challenged statements”).
             The mere fact that under the agreement, USC was required to market the online programs
   “in a manner comparable to” the in-person programs and “consult with [2U] in the development
   of additional Promotional Strategies” does not show that 2U controlled the statements at issue
   here. See Musgrave v. Taylor Farms Pac., Inc., No. 18-CV-02841-JSW, 2019 WL 8230850, at
   *7 (N.D. Cal. Feb. 20, 2019) (“Although [plaintiff] alleges that the Retail Defendant and the Taylor
   Farms Defendants had marketing agreements, he does not include any facts to suggest that the
   Retail Defendants had any involvement in what statements were placed on the products
   packaging.”). In fact, Plaintiffs acknowledge that “USC maintained the main Rossier website”
   where the allegedly misleading statements were posted. SAC ¶¶ 47, 87. Similarly, the services
   agreement states that any marketing materials 2U made were “subject to USC’s written approval
   prior to any use.” Id. Ex. A § 1(A). Accordingly, Plaintiffs’ reliance on the terms of the services
   does not satisfy the Emery test. Nor, for all the reasons discussed in the previous section, have
   Plaintiffs adequately alleged that 2U was on notice of the violating conduct (i.e., the rankings
   fraud).13 See Hanna, 2020 WL 7345680, at *6 (dismissing claim for failure to allege that retailer

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           Any theory of aiding and abetting liability would fail for the same reason. See In re Hydroxycut, 299 F.R.D. at

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   “was on notice of the allegedly unfair business practices”).
   IV. Conclusion
           Because Plaintiffs have not sufficiently alleged that the statements at issue are actionable
   against 2U, or that 2U exercised control over the statements made by USC, the Court dismisses
   Plaintiffs’ claims under the FAL, UCL,14 and CLRA. Plaintiffs will be granted leave to amend to
   cure the above-noted deficiencies. Plaintiffs may file amended complaints within twenty-one days
   of this order.




   657 (“[L]iability for aiding and abetting a tort normally requires that the individual have actual knowledge of the
   specific primary wrong that he is substantially assisting.”).
        14
           Plaintiffs maintain that their claim based on violation of the UCL’s “unfair” prong should survive
   notwithstanding the deficiencies noted above. However, Plaintiffs have not alleged an independent basis for such a
   claim that is not premised on the same alleged misrepresentations the Court has found to be nonactionable. See Punian
   v. Gillette Co., No. 14-CV-05028-LHK, 2016 WL 1029607, at *17 (N.D. Cal. Mar. 15, 2016) (dismissing claim under
   the unfair prong which “overlaps entirely with Plaintiff’s claims under the FAL and the CLRA”).



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